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                                EXHIBIT 3
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      ALEKSEJ GUBAREV -v- BUZZFEED INC.                                         1

 ·1· · · · · · · · · UNITED STATES DISTRICT COURT

 ·2· · · · · · · · · SOUTHERN DISTRICT OF FLORIDA

 ·3· · · · · · · · · · · · MIAMI DIVISION

 ·4

 ·5· ·_______________________________

 ·6· ·IN RE THIRD PARTY SUBPOENA TO· |· ·Case No.

 ·7· ·FUSION GPS· · · · · · · · · · ·|· ·0 18-mc-60528-UU

 ·8· ·_______________________________|

 ·9· ·ALEKSEJ GUBAREV,· · · · · · · ·|

 10· ·XBT HOLDING S.A. and· · · · · ·|

 11· ·WEBZILLA, INC.· · · · · · · · ·|· ·Case No.

 12· · · · Plaintiffs,· · · · · · · ·|· ·0 17-cv-60426-UU

 13· ·-v-· · · · · · · · · · · · · · |

 14· ·BUZZFEED, INC., and· · · · · · |

 15· ·BEN SMITH· · · · · · · · · · · |

 16· · · · Defendants.· · · · · · · ·|

 17· ·_______________________________|

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 ·1· · · · · · · · · Deposition of Peter R. Fritsch

 ·2· · · · · · · · · · · · Washington, DC

 ·3· · · · · · · · · ·Thursday, August 30, 2018

 ·4· · · · · · · · · · · · ·10:00 a.m.

 ·5

 ·6

 ·7· ·Job No: J2625547

 ·8· ·Pages:· 1-271

 ·9· ·Reported by:· Kenneth Norris

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 ·1· · · · A.· ·No, he didn't.

 ·2· · · · Q.· ·Just so that I understand, prior to the Wall

 ·3· ·Street Journal publishing that information, Fusion was

 ·4· ·unaware that the Wall Street Journal intended to

 ·5· ·publish that information.· Is that correct?

 ·6· · · · A.· ·That is correct.

 ·7· · · · Q.· ·Prior to the publication of the memos, did

 ·8· ·Fusion undertake any efforts to verify the allegations

 ·9· ·in the December memo concerning Alex Gubarev?

 10· · · · · · ·MR. LEVY:· Take your time to read through

 11· ·it.

 12· · · · · · ·THE WITNESS:· Yes, we did.· We took

 13· ·extensive steps to verify the information.

 14· ·BY MR. FRAY-WITZER:

 15· · · · Q.· ·And specifically the information concerning

 16· ·Alex Gubarev?

 17· · · · A.· ·Yes, that's right, we did.

 18· · · · Q.· ·What steps did Fusion take to verify the

 19· ·allegations concerning Alex Gubarev?

 20· · · · A.· ·We took extensive steps to, as I believe I

 21· ·testified, XBT, Webzilla and Mr. Gubarev were all new


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 ·1· ·names to us.· So we went to the public record to

 ·2· ·determine who these people are and to determine

 ·3· ·whether the information in Paragraph 3 of this memo

 ·4· ·was credible.

 ·5· · · · · · ·What we found was an extensive record of a

 ·6· ·company based in Luxemburg with no fewer than 51

 ·7· ·subsidiary companies or shell companies, located in

 ·8· ·places like the British Virgin Islands, Cypress,

 ·9· ·Panama, India and Russia and the United States that

 10· ·was constructed in such a way to obscure the

 11· ·beneficial ownership of the company.

 12· · · · · · ·That's an important detail in our mind.

 13· · · · · · ·We undertook a litigation search of XBT and

 14· ·Webzilla and a public record search with the internet.

 15· ·We found extensive allegations, credible allegations.

 16· ·Paragraph 3 talks about porn traffic.· We found a

 17· ·number of websites hosted by Webzilla;

 18· ·asianpissinggirls.com, japanesetoiler.com.· In Fort

 19· ·Lauderdale, osuck.com.· They were hosted by Webzilla.

 20· · · · · · ·We found extensive allegations in the public

 21· ·record from credible people like motion picture


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 ·1· ·associations in filings to the U.S. and comments to

 ·2· ·the U.S. Copyright Office that Webzilla had ignored

 ·3· ·repeated entreaties to take down pirated traffic

 ·4· ·particularly in pornography.

 ·5· · · · · · ·We found that -- and this is a very telling

 ·6· ·fact for us -- we found Mr. Gurvits's name on

 ·7· ·extensive litigation in defense of alleged criminal

 ·8· ·hackers and networks in the Ukraine and Russia.

 ·9· · · · · · ·And that -- we found that FireEye had

 10· ·determined that --

 11· · · · · · ·(The reporter requested clarification.)

 12· · · · · · ·THE WITNESS:· FireEye, which is an internet

 13· ·security firm had determined that Webzilla was hosting

 14· ·a Propeller Ads -- a company called Propeller Ads

 15· ·which involved various individuals, also tied to Mr.

 16· ·Gubarev.

 17· · · · · · ·We understood there was a couple companies.

 18· ·One was called Co-locate USA, which is a known

 19· ·spamming network which is actually owned by Webzilla

 20· ·is what we understand.

 21· · · · · · ·There was another company called Digital --


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 ·1· ·I can't remember it right now.· It was involved

 ·2· ·allegedly in the Methbot attack which was --

 ·3· · · · · · ·(The reporter requested clarification.)

 ·4· · · · · · ·THE WITNESS:· Methbot, M-E-T-H-B-O-T, that

 ·5· ·at its height was stealing somewhere between three and

 ·6· ·$5 million a day from unsuspecting internet users.

 ·7· · · · · · ·So what we found was a pattern and a fact

 ·8· ·set that corroborated and substantially raised the

 ·9· ·credibility of the underlying reporting in this

 10· ·memorandum.

 11· ·BY MR. FRAY-WITZER:

 12· · · · Q.· ·I asked you what steps you took prior to the

 13· ·publication.· Is it your testimony that you undertook

 14· ·those steps prior to BuzzFeed's publication of the

 15· ·dossier?

 16· · · · · · ·MR. LEVY:· Objection, asked and answered.

 17· · · · · · ·MR. FRAY-WITZER:· Except he's answering a

 18· ·totally different question.

 19· · · · · · ·MR. LEVY:· No, he's not.

 20· · · · · · ·MR. FRAY-WITZER:· Okay.· Well, then let him

 21· ·answer it.


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 ·1· · · · · · ·MR. SIEGEL:· That's testimony, Evan.

 ·2· ·BY MR. FRAY-WITZER:

 ·3· · · · Q.· ·Did you --

 ·4· · · · · · ·MR. SIEGEL:· Ask your question.

 ·5· ·BY MR. FRAY-WITZER:

 ·6· · · · Q.· ·Did you -- did Fusion undertake those

 ·7· ·research efforts before BuzzFeed published the

 ·8· ·dossier?

 ·9· · · · A.· ·Yes, we did.

 10· · · · Q.· ·Then let me ask you this.· You said it was

 11· ·very relevant to you that Val Gurvits's name was on

 12· ·the pleading.· Why was that relevant prior to the

 13· ·publication of the dossier?

 14· · · · · · ·MR. LEVY:· Objection, lacks foundation.

 15· · · · · · ·THE WITNESS:· May I answer?

 16· ·BY MR. FRAY-WITZER:

 17· · · · Q.· ·Please.

 18· · · · A.· ·Well, as an investigative matter, as a

 19· ·research matter, who someone's lawyer is, whether it's

 20· ·for the formation of a company or the defense of

 21· ·allegations against them is entirely relevant in our


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 ·1· ·mind.

 ·2· · · · Q.· ·And what relevance did that have prior to

 ·3· ·the publication of the dossier?

 ·4· · · · · · ·MR. LEVY:· Objection, lack of foundation.

 ·5· · · · · · ·THE WITNESS:· Again --

 ·6· · · · · · ·MR. FRAY-WITZER:· He testified that it was

 ·7· ·relevant to him.· That's the foundation.· What's the

 ·8· ·relevance?

 ·9· · · · · · ·MR. LEVY:· Preserving the objection.

 10· · · · · · ·MR. FRAY-WITZER:· Fine.

 11· · · · · · ·THE WITNESS:· The relevance -- I mean, we

 12· ·were trying to understand, as I testified to you -- we

 13· ·were trying to understand who XBT, Webzilla and Mr.

 14· ·Gubarev are.· We had no idea.

 15· · · · · · ·So we employed our methodology, which as I

 16· ·said is an extensive collection effort, and a

 17· ·litigation review found those commonalities.

 18· ·BY MR. FRAY-WITZER:

 19· · · · Q.· ·On what date did Fusion start that review?

 20· · · · A.· ·Almost immediately.

 21· · · · Q.· ·Almost immediately upon what?


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 ·1· · · · A.· ·Sorry, upon receipt of the December 13th

 ·2· ·memo.

 ·3· · · · Q.· ·You -- and by you I mean Fusion was asked

 ·4· ·and ordered by the Court in this case to produce to us

 ·5· ·all documents that demonstrated investigation or

 ·6· ·information that you had concerning Webzilla, XBT or

 ·7· ·Mr. Gubarev that you had prior to the publication of

 ·8· ·the dossier.· There's not a single document that

 ·9· ·reflects anything that you're talking about.· Why is

 10· ·that?

 11· · · · · · ·MR. SIEGEL:· Objection.

 12· · · · · · ·MR. LEVY:· Objection, that's incorrect.· And

 13· ·if you'd let the witness testify as opposed to

 14· ·characterizing documents in his own testimony as

 15· ·you've done for the last six hours, we'd greatly

 16· ·appreciate it.

 17· ·BY MR. FRAY-WITZER:

 18· · · · Q.· ·Why aren't there any documents that

 19· ·demonstrate such an investigation prior to the

 20· ·publication?

 21· · · · · · ·MR. LEVY:· Objection, lack of foundation.


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 ·1· ·BY MR. FRAY-WITZER:

 ·2· · · · Q.· ·Tell me what documents you produced that

 ·3· ·demonstrate any kind of investigation that Fusion

 ·4· ·undertook prior to the publication of the dossier?

 ·5· · · · A.· ·I think our document production speaks for

 ·6· ·itself.

 ·7· · · · Q.· ·Tell me a single document that indicates

 ·8· ·that Fusion undertook an investigation of XBT,

 ·9· ·Webzilla or Mr. Gubarev prior to the publication of

 10· ·the dossier?

 11· · · · · · ·MR. LEVY:· Objection, asked and answered.

 12· · · · · · ·MR. SIEGEL:· Objection.

 13· · · · · · ·THE WITNESS:· I'm sorry.· I'm not sure how I

 14· ·can answer that.

 15· ·BY MR. FRAY-WITZER:

 16· · · · Q.· ·You said you reviewed the documents that you

 17· ·produced before today's deposition?

 18· · · · A.· ·Yes.

 19· · · · Q.· ·Correct?

 20· · · · A.· ·Correct.

 21· · · · Q.· ·So identify for me, tell me any document


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 ·1· ·that demonstrates an investigation prior to the

 ·2· ·publication --

 ·3· · · · A.· ·The entire.· I apologize for not letting you

 ·4· ·finish.

 ·5· · · · · · ·The entire Dr. Tubrook case, dot com case,

 ·6· ·the entire WebArt case were all things that we found

 ·7· ·in the public record prior to publication.· Not

 ·8· ·difficult to find.

 ·9· · · · · · ·MR. LEVY:· We can bring out the document

 10· ·production for Mr. Fritsch to look through if it's

 11· ·helpful for you.· He's given you some examples, he can

 12· ·give you others.· You have the production.

 13· ·BY MR. FRAY-WITZER:

 14· · · · Q.· ·Is there a document that you believe you

 15· ·produced that demonstrates -- that has a date on it

 16· ·prior to the publication of the dossier, that

 17· ·demonstrates that Fusion was engaged in an

 18· ·investigation of the sort you're talking about?

 19· · · · A.· ·I'm sorry.· As I sit here today I'd have to

 20· ·sit down with the documents and go -- and review them.

 21· ·Which I'm happy to do.


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 ·1· · · · Q.· ·I believe you testified that you did go

 ·2· ·through them and review them prior to this deposition?

 ·3· · · · · · ·MR. LEVY:· Objection, asked and answered.

 ·4· ·BY MR. FRAY-WITZER:

 ·5· · · · Q.· ·Did you go through them and review them

 ·6· ·prior to the deposition?

 ·7· · · · A.· ·I did.

 ·8· · · · Q.· ·So, why can't you tell us today as you sit

 ·9· ·here what document has any date that predates the

 10· ·publication of the dossier that you believe supports

 11· ·your assertion that there was such an investigation

 12· ·before the publication of the dossier?

 13· · · · A.· ·I'm sorry.· I'm not trying to be difficult.

 14· ·I just can't recall.· The document production that I

 15· ·reviewed with Mr. Levy was probably four or five

 16· ·inches thick, if not larger.

 17· · · · Q.· ·What evidence did Fusion find that Alex

 18· ·Gubarev had been recruited under duress by the FSB?

 19· · · · A.· ·I don't believe we found any such evidence.

 20· ·Again, as I believe I've testified and as Mr. Steele

 21· ·evidently testified, the purpose or the goal was to


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 ·1· ·share this information in urgent fashion with

 ·2· ·competent authorities in law enforcement and

 ·3· ·government who could pursue them.

 ·4· · · · Q.· ·Well --

 ·5· · · · A.· ·This is not the kind of information that is

 ·6· ·easily confirmed in the open source.

 ·7· · · · Q.· ·What evidence did Fusion find that XBT,

 ·8· ·Webzilla was conducting altering operations against

 ·9· ·the democratic party leadership?

 10· · · · A.· ·Again, by altering operations by the way, I

 11· ·believe we're talking about hacking.

 12· · · · · · ·We found no specific allegations about XBT,

 13· ·Webzilla in the open source.· However, at this time it

 14· ·was an extensive matter of public record that the

 15· ·democratic party leadership had been hacked.· And,

 16· ·again, as I believe I testified, we determined that

 17· ·XBT, Webzilla operates the kind of network with the

 18· ·capability to carry out those kinds of acts.

 19· · · · · · ·We also understood XBT, by the way, since

 20· ·2015 to be working in Russia through its acquisition

 21· ·of Edinaya Set, E-D-I-N-A-Y-A, separate word, S-E-T.


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 ·1· ·Our understanding is we need to be in close

 ·2· ·cooperation with the State to offer internet services

 ·3· ·for hosting in Russian.

 ·4· · · · · · ·Prime Minister Medvedev just a couple of

 ·5· ·months ago signed a new law requiring companies to

 ·6· ·cooperate with the State under the guise of its

 ·7· ·National Security and Counter Terrorist Act.

 ·8· · · · · · ·So to us, again, the credibility's

 ·9· ·reinforced by the profile of the company.

 10· · · · Q.· ·Did Fusion have any actual evidence of

 11· ·cooperation between XBT, Webzilla and the Russian

 12· ·government?

 13· · · · · · ·MR. LEVY:· Objection, asked and answered.

 14· · · · · · ·He just answered the question.

 15· · · · · · ·MR. FRAY-WITZER:· No.· He just testified

 16· ·that there are requirements that he believes are in

 17· ·place and I want to know if he has any actual evidence

 18· ·that this company is cooperating with the Russian

 19· ·government.

 20· · · · · · ·MR. LEVY:· Objection.· Same objection as in

 21· ·that was part of his testimony, it wasn't all of his


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 ·1· ·testimony.

 ·2· · · · · · ·THE WITNESS:· One thing we found in the open

 ·3· ·source, just to help you understand that, is that --

 ·4· ·and I'm going to mangle the name -- but XBT after the

 ·5· ·Russian government shut down the messaging app

 ·6· ·telegram, it did talk about the contract, it's

 ·7· ·Roskomnadzor.· I can't remember the name.

 ·8· · · · · · ·(The reporter requested clarification.)

 ·9· · · · · · ·THE WITNESS:· I'm sorry.· I don't know how

 10· ·to spell it.

 11· · · · · · ·There's a report in the open source that

 12· ·talks about a contract with Edinaya Set, the company I

 13· ·referenced earlier that belongs to XBT Holdings to

 14· ·work with the Russian government.

 15· · · · · · ·So, again, from a researcher standpoint, a

 16· ·lot of those facts are important.

 17· · · · · · ·When you're trying to assess the credibility

 18· ·of a report like this, not the truth, the credibility

 19· ·of it.

 20· ·BY MR. FRAY-WITZER:

 21· · · · Q.· ·Have you produced this alleged contract


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 ·1· ·between Edinaya Set and the Russian government?

 ·2· · · · A.· ·No, we did not.· We're not privy to private

 ·3· ·company contracts with the Russian government.

 ·4· · · · Q.· ·Have you produced the open source

 ·5· ·information that you say supports the existence of

 ·6· ·such a contract?

 ·7· · · · A.· ·I can't recall.

 ·8· · · · Q.· ·Did you find this supposed open source

 ·9· ·information prior to BuzzFeed publishing the dossier?

 10· · · · A.· ·No.

 11· · · · Q.· ·After BuzzFeed published the dossier, Fusion

 12· ·undertook great efforts to investigate Gubarev,

 13· ·Webzilla and XBT.· Isn't that true?

 14· · · · A.· ·I'm not sure what you characterize as great

 15· ·efforts.· But we did take -- undertake an effort to

 16· ·investigate, and I'll tell you why.

 17· · · · · · ·Again, we, like Mr. Steele, shared a concern

 18· ·that now the president, incoming president of the

 19· ·United States or about to be inaugurated president of

 20· ·the United States was an asset of some -- some caliber

 21· ·of the Russian government.· So we did undertake that


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 ·1· ·as part of our -- we're exercising our rights as

 ·2· ·citizens and also our responsibility as citizens to do

 ·3· ·that.

 ·4· · · · · · ·We Felch like we had a certain amount of

 ·5· ·knowledge and understanding of these networks and the

 ·6· ·fact set, and so we decided that we needed to keep

 ·7· ·doing that.

 ·8· · · · Q.· ·Did Mr. Steele ask you to try and verify the

 ·9· ·information after the dossier had been published?

 10· · · · A.· ·No, and he didn't have to.

 11· · · · Q.· ·Did BuzzFeed ask you to verify information

 12· ·concerning Webzilla, XBT or Mr. Gubarev?

 13· · · · A.· ·Absolutely not.· It's fair to say our

 14· ·communications with BuzzFeed were not robust after

 15· ·publication of the dossier.

 16· · · · Q.· ·What communications did Fusion have with

 17· ·BuzzFeed after the publication of the dossier?

 18· · · · · · ·MR. LEVY:· Asked and answered.

 19· · · · · · ·THE WITNESS:· About what?

 20· ·BY MR. FRAY-WITZER:

 21· · · · Q.· ·About Webzilla, XBT or Mr. Gubarev.


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 ·1· · · · A.· ·None that we can recall.

 ·2· · · · · · ·(Fritsch Exhibit No. 13 was marked for

 ·3· ·identification.)

 ·4· ·BY MR. FRAY-WITZER:

 ·5· · · · Q.· ·You've been shown what's been marked as

 ·6· ·Exhibit Number 13.· Can you tell me what this document

 ·7· ·is?

 ·8· · · · A.· ·Sure.

 ·9· · · · · · ·This is an e-mail from Ed Baumgartner who

 10· ·works for a company called Edward Austin.

 11· · · · · · ·Ed is a contractor of ours who has

 12· ·advanced -- I think he has an advanced degree in

 13· ·Russian Language and History and maybe Literature from

 14· ·Harvard University.· And is someone who we rely on to

 15· ·conduct research.

 16· · · · Q.· ·When did Fusion engage Mr. Baumgartner to

 17· ·conduct the research that resulted in these memos?

 18· · · · A.· ·I'm afraid I don't recall.· We don't recall.

 19· · · · Q.· ·Why did Fusion engage Mr. Baumgartner to

 20· ·conduct the research that resulted in these memos?

 21· · · · A.· ·We wanted to learn more about several


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 ·1· ·matters.· One of which involved Mr. Gubarev.

 ·2· · · · Q.· ·Why at this point in time did Fusion want to

 ·3· ·learn more information about Mr. Gubarev?

 ·4· · · · A.· ·Because we received a memo on December 13th

 ·5· ·from Christopher Steele and Orbis.· Again, one of the

 ·6· ·most knowledgeable Western Russianists in the world

 ·7· ·who represented to us that he had credible information

 ·8· ·that XBT Holdings and Webzilla was involved in the

 ·9· ·hacking of the democratic party leadership.

 10· · · · Q.· ·You're saying that Mr. Steele specifically

 11· ·represented to you that he had credible information

 12· ·about those things, not that he considered them to be

 13· ·raw intelligence that needed to be verified and

 14· ·confirmed?

 15· · · · · · ·MR. LEVY:· Objection.

 16· · · · · · ·MR. SIEGEL:· Objection.

 17· · · · · · ·MR. LEVY:· Please just ask him questions.

 18· ·Rephrase the question, Evan.

 19· ·BY MR. FRAY-WITZER:

 20· · · · Q.· ·Is it your testimony -- and I think you just

 21· ·said this, that Mr. Steele specifically told you that


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 ·1· ·he had credible information of the allegations

 ·2· ·concerning XBT, Webzilla that are contained in the

 ·3· ·December memo.· Is that your testimony?

 ·4· · · · · · ·MR. LEVY:· Want to read back the testimony?

 ·5· · · · · · ·MR. FRAY-WITZER:· No.· I'd like the witness

 ·6· ·to answer the question.

 ·7· · · · · · ·MR. LEVY:· We have a problem because you ask

 ·8· ·him a question, he answers it.· And then you try to

 ·9· ·recapitulate his answer and ask him if you got it

 10· ·right.· This happened, I can't -- I've lost track of

 11· ·how many times this has happened during the course of

 12· ·this deposition.

 13· ·BY MR. FRAY-WITZER:

 14· · · · Q.· ·Is that your testimony?

 15· · · · A.· ·I'm sorry.· The back and forth really

 16· ·confuses me, and I apologize for that.

 17· · · · Q.· ·Is it your testimony that Mr. Steele

 18· ·explicitly told you that he had credible evidence that

 19· ·XBT, Webzilla were involved in the allegations that he

 20· ·makes in the December memo?

 21· · · · A.· ·It's my testimony that Mr. Steele provided


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 ·1· ·us the memorandum marked Exhibit 11 on December 13th,

 ·2· ·2016.· And, therefore, they are credible because Mr.

 ·3· ·Steele sent them to us.· And Mr. Steele, once again is

 ·4· ·a highly trained professional who is trained in

 ·5· ·sorting out good intelligence from disinformation and

 ·6· ·not credible intelligence.

 ·7· · · · Q.· ·Is it your belief that 100 percent of

 ·8· ·everything in the dossier is credible?

 ·9· · · · A.· ·You're asking me for my personal belief, or

 10· ·our personal belief?

 11· · · · Q.· ·Fusion's belief.

 12· · · · A.· ·I'm sorry.· I think that's a tough question

 13· ·to answer, what an entire company believes.

 14· · · · · · ·However I'll tell you that I think that we

 15· ·believe that the information is highly credible.                   I

 16· ·also think we believe extensive parts of the memoranda

 17· ·that we're calling the dossier have been corroborated.

 18· · · · Q.· ·And I think I'm asking a different question.

 19· · · · · · ·Is it your belief that 100 percent of all

 20· ·the information contained in the dossier is credible?

 21· · · · · · ·MR. LEVY:· Objection, asked and answered.


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 ·1· · · · · · ·THE WITNESS:· Yes, I do.

 ·2· ·BY MR. FRAY-WITZER:

 ·3· · · · Q.· ·And only because you've made this

 ·4· ·distinction before, do you believe that 100 percent of

 ·5· ·the information contained in the dossier is true?

 ·6· · · · A.· ·I don't know.

 ·7· · · · Q.· ·In Exhibit 13 would you turn, please, to --

 ·8· ·it has the number one at the bottom -- actually let me

 ·9· ·give you the Bates number at the very bottom --

 10· · · · A.· ·Sure.

 11· · · · Q.· ·-- which ends in 14.

 12· · · · A.· ·Sure.

 13· · · · Q.· ·That is the beginning of the memo concerning

 14· ·Aleksei Gubarev from Mr. Baumgartner.· Is that

 15· ·correct?

 16· · · · A.· ·That's correct.

 17· · · · Q.· ·If you would turn to Page 4 of that and that

 18· ·has a Bates number that ends in 17, and there's a

 19· ·heading at the top of the page:· Interviews.

 20· · · · · · ·Were you aware that Mr. Baumgartner had

 21· ·conducted interviews as part of his work being


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 ·1· ·performed for you?

 ·2· · · · A.· ·In advance of receipt of this memorandum?

 ·3· · · · Q.· ·Yes, did you know he was going to conduct

 ·4· ·interviews?

 ·5· · · · A.· ·We reviewed this and don't specifically

 ·6· ·recall that.

 ·7· · · · · · ·However, we understand that part of what

 ·8· ·Edward does is conduct interviews or his network

 ·9· ·conducts interviews, I should say.

 10· · · · Q.· ·The section on interviews begins, "Our

 11· ·interviews of people familiar with Gubarev paint a

 12· ·picture of a relatively well known person in the IT

 13· ·sector with an entirely positive reputation as a

 14· ·successful self made entrepreneur."

 15· · · · · · ·Did I read that correctly?

 16· · · · A.· ·You did.

 17· · · · Q.· ·In the next paragraph Mr. Baumgartner

 18· ·writes, "Source from Mail.Ru Group describes Gubarev

 19· ·as follows:· 'He created from scratch a successful

 20· ·business that continues to grow.· I have never heard

 21· ·anyone say anything negative about him.'"


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 ·1· · · · · · ·Did I read that portion correctly?

 ·2· · · · A.· ·You did.

 ·3· · · · Q.· ·"I have a very ambiguous feeling about all

 ·4· ·these allegations against him from the U.S. press.

 ·5· ·Yes, nobody has ever heard him talking about hacking

 ·6· ·or having any ties to intelligence agencies."

 ·7· · · · · · ·Did I read that correctly?

 ·8· · · · A.· ·You did.· I would only note that you don't

 ·9· ·hear a lot of talk about ties to the intelligence

 10· ·agencies.

 11· · · · · · ·I don't know if you got that.· But I also

 12· ·forgot what I said.

 13· · · · Q.· ·Without --

 14· · · · · · ·MR. LEVY:· You want to finish your answer?

 15· · · · · · ·THE WITNESS:· I'm okay.

 16· ·BY MR. FRAY-WITZER:

 17· · · · Q.· ·The remainder of the interviews that Mr.

 18· ·Baumgartner conducted are consistent with his

 19· ·conclusion that everyone he had spoke with had an

 20· ·entirely positive reputation attributed to Mr.

 21· ·Gubarev.· Is that correct?


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 ·1· · · · A.· ·I don't know.· I'd have to read it again.

 ·2· · · · · · ·MR. LEVY:· Is there a conclusion you want to

 ·3· ·point him to in the language?

 ·4· · · · · · ·MR. FRAY-WITZER:· Well, in the first

 ·5· ·paragraph, yes.

 ·6· ·BY MR. FRAY-WITZER:

 ·7· · · · Q.· ·"They paint a picture of a relatively well

 ·8· ·known person in the IT sector with an entirely

 ·9· ·positive reputation as a successful self made

 10· ·entrepreneur."

 11· · · · · · ·The interviews he conducted are consistent

 12· ·with that conclusion that he makes.· Is that correct?

 13· · · · A.· ·I agree that the first sentence says that.

 14· · · · Q.· ·Did Mr. Baumgartner provide Fusion with any

 15· ·negative information about Mr. Gubarev that it

 16· ·obtained from its interviews with people?

 17· · · · A.· ·What do you mean by negative information?

 18· · · · Q.· ·Did Mr. Baumgartner report to Fusion that

 19· ·people he interviewed said that Alex Gubarev was a

 20· ·hacker?

 21· · · · A.· ·First of all, I don't know that I said that


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 ·1· ·Mr. Baumgartner interviewed anybody.

 ·2· · · · · · ·Second of all, that characterization that

 ·3· ·you just made is not reflected in this memorandum.                    I

 ·4· ·agree.

 ·5· · · · · · ·I'd also say that Mr. Baumgartner is not a

 ·6· ·highly trained or decorated intelligence official from

 ·7· ·a major government.

 ·8· · · · Q.· ·And yet, you did decide to hire him for some

 ·9· ·reason.· Is that not correct?

 10· · · · A.· ·We did hire Mr. Baumgartner.

 11· · · · Q.· ·Did you pay Mr. Baumgartner?

 12· · · · A.· ·Yes.

 13· · · · Q.· ·How much did you pay Mr. Baumgartner for

 14· ·performing this work?

 15· · · · A.· ·I can't recall.· But it was not an extensive

 16· ·engagement.· I think he conducted a couple interviews

 17· ·or his network conducted a couple of interviews.

 18· · · · · · ·I'd also add that I think what this memo

 19· ·reflects is an honest methodology that seeks to

 20· ·collect and capture all views and opinions on all

 21· ·sides of the matter.


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 ·1· · · · Q.· ·I just don't want to interrupt you.

 ·2· · · · A.· ·I'm done.

 ·3· · · · · · ·(Fritsch Exhibit No. 14 was marked for

 ·4· ·identification.)

 ·5· · · · · · ·THE WITNESS:· I'm sorry.· Evan, do you mind

 ·6· ·if we take a quick break?

 ·7· · · · · · ·MR. FRAY-WITZER:· No.

 ·8· · · · · · ·THE VIDEOGRAPHER:· Going off the record at

 ·9· ·1614.

 10· · · · · · ·(Whereupon, a recess ensued.)

 11· · · · · · ·THE VIDEOGRAPHER:· Back on the record at

 12· ·1626.

 13· ·BY MR. FRAY-WITZER:

 14· · · · Q.· ·Just before we went off the record, you

 15· ·testified about efforts that you say Fusion undertook

 16· ·after receiving the December memo but before

 17· ·BuzzFeed's publication of the dossier to verify

 18· ·allegations against Gubarev, Webzilla and XBT.

 19· · · · · · ·Specifically which Fusion employees worked

 20· ·on verifying those allegations?

 21· · · · A.· ·I can't recall that, sorry.· I know that


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 ·1· ·Glenn did so. I know that Mr. Berkowitz did so. I know

 ·2· ·that Laura Seago did so.· I know that I myself did so.

 ·3· · · · Q.· ·Before the publication of the --

 ·4· · · · · · ·MR. LEVY:· I don't know if he finished his

 ·5· ·answer.

 ·6· · · · · · ·MR. FRAY-WITZER:· Oh, I'm sorry.

 ·7· · · · · · ·THE WITNESS:· That's what I recall.

 ·8· ·BY MR. FRAY-WITZER:

 ·9· · · · Q.· ·Before the publication of the dossier what

 10· ·specific steps did you take to verify the allegations?

 11· · · · A.· ·I did some internet searches about XBT,

 12· ·Webzilla.· We looked in PayServ for various court

 13· ·documents.

 14· · · · · · ·We looked in --

 15· · · · Q.· ·I'm sorry.· I don't want to stop you other

 16· ·than to say I should clarify the question.

 17· · · · · · ·In this instance I mean you personally.

 18· ·What steps did you personally take prior to the

 19· ·publication of the dossier?

 20· · · · A.· ·I did some web searching.· We looked in

 21· ·PayServ, we -- and I shared some of what we saw with


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 ·1· ·colleagues such as Glenn, such as Laura.· Not a lot

 ·2· ·frankly.

 ·3· · · · Q.· ·What web searching did you personally

 ·4· ·undertake?

 ·5· · · · A.· ·I'm sorry.· I can't recall that.

 ·6· · · · Q.· ·What PayServ searching did you personally

 ·7· ·undertake?

 ·8· · · · A.· ·Sorry, I can't recall that either.

 ·9· · · · Q.· ·When you say --

 10· · · · A.· ·You're asking about a very specific period

 11· ·of time that's less than a month.

 12· · · · Q.· ·Yes.

 13· · · · A.· ·Including holidays?

 14· · · · Q.· ·Correct.

 15· · · · A.· ·Right.· And, so, what I'm telling you is not

 16· ·a lot.· But enough to find a lot of the documents that

 17· ·I've referenced today.

 18· · · · Q.· ·But you can't tell me any specific web

 19· ·searching that you personally undertook during that

 20· ·period of time?

 21· · · · · · ·MR. LEVY:· Objection, asked and answered.


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 ·1· · · · · · ·REPORTER'S CERTIFICATE

 ·2· · · · · · ·District of Columbia

 ·3· · · · · · ·County of Washington, to wit:

 ·4· · · · · · · · ·I, KENNETH NORRIS, a Notary Public of

 ·5· ·the District of Columbia, County of Washington, do

 ·6· ·hereby certify that the within named witness

 ·7· ·personally appeared before me at the time and place

 ·8· ·herein set out, and after having been duly sworn by

 ·9· ·me, according to law, was examined.

 10· · · · · · · · · I further certify that the examination

 11· ·was recorded stenographically by me and this

 12· ·transcript is a true record of the proceedings.

 13· · · · · · · · · I further certify that I am not of

 14· ·counsel to any of the parties, nor in any way

 15· ·interested in the outcome of this action.

 16· · · · · · · · · As witness my hand and notarial seal

 17· ·this 30th day of August 2018.

 18

 19

 20

 21


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